Meyer, Shaffer
& Stepans, pup

. Filed 09/27/23 Page 1 of 6

pe &
Sa

Ryan Shaffer | ryan@rrss-law!
Robert L. Stepans | 1
James Murnion | jamesd

Katy Gannon [ karya:

Via Email and U.S. Mail

Jon A. Wilson

Brett C. Jensen

Michael P. Sarabia
BROWN LAW FIRM, P.C.
PO Drawer 849

ings, MT 59103

June 36, 2023

Christopher T. Sweeney

Gerry P. Fagan

Jordan W. FitzGerald

Moulton Bellingham

27 North 27" Street, Suite 1900
P.O. Box 2559

orovwiifincom
biensendbrowalinn.com
WisarablacPbrown firm. com

Billings, MT $9103
cbristapher. sweeneyidimoultonbellingham COM
gerry fazaniemoultoabellingham com

sel]

f

Pal
jordan fitzgerald@ moultonbellinghan.cam

Joe! M. Taylor, Esq. pro hac vice
Miller McNamara & Taylor LLP
100 South Bedford Road, Suite 340
Mount Kisco, NY 10549

lupy lorermint-law.com

Re: Memorandum of Agreement Regarding Independent Medical Examinations
Caekaert & Mapley v. Watchtower Bible and Tract Society of New York, Inc, et al
Rowland & Schulze vo Waichtower Bible and Tract Society of New Fork, Inc, et al.

Dear Bret.

This letier is in response ta your 6/23/2023 email containing your proposed draft of the
Memorandum of Agreement Regarding Independent Medical Examinations of Plaintiffs.

|. Ms. Mapley resides near Mansfield, Victoria, Australia. There are hotels and conference
rooms available to book there. | am not sure what other amenities Dr. Butz. will require
in order for her evaluation to occur, however, if you identify what those might be I can
verify that they are available.

bh

Mrs. Caekaert lives in Searcy, AR. There should be sufficient amenities in the area for
Dr, Bitz to stay and conduct his examinations,

Below, I have identified areas where further clarification is requested, The numbers correspond
to the paragraph numbers in your draft MOA:

#3. Mrs. Cackaert’s examination will either take place in Searcy, AR, or at Dr, Biitz ’s office in
Billings, MT if she is able to travel by the time her examination is to be conducted.

EXHIBIT

Missoula, MT: (406) 543-6929 | Jackson, WY. (307) 734-9544 10

oy

430 Ryman St. Missoua, MT 59807 | mss-lawfirm.com
Case 1:20-cv-00052-SPW Document 267-10 Filed 09/27/23 Page 2 of 6

#5. We would like clarification on what costs are being contemplated as “out of pocket costs
associated with the examinations.” We understand reasonable travel expenses are included, such
as airfare, ground Wansportation, and accommodations. However, we do nat know what is being

contemplated beyond that. Please provide a general idea of what you are referring to.

#6. As it pertains to the manner and scope of the examinations, we are requesting identification
of the broad categories of tests that shall be given to the Plaintiffs, ie., broad measures of
personality function, validity testing. etc. To be clear, we are not asking for Dr. Biitz to provide
us with a list of the actual tests that he will give, just the categories of tests.

#7. Plaintiffs request an addition to the MOA requiring Dr, Btitz to release the test raw data to
Plaintiffs” retained experts. Additionally, we would like an agreement that after the tests have
been administered, we will receive a list of the specific tests administered to include the version,
the start and stop times of all tests, and indications of whether breaks were taken during or in
between tests and the length of the breaks.

#8. We cannot agree that no party will be authorized to send a representative to attend any
portion of the subject mental examinations until we have an agreement that any unintentional /
inadvertent disclosure of attorney-client privileged communications shall not constitute a waiver
of such privilege and such unintentional / inadvertent disclosure shall be stricken and unavailable
for use in the case. We obviously do not believe that this will become an issue. However,
because Dr. Blitz is a retained representative of the Defendants in an adversarial proceeding, we
believe that it is both appropriate and reasonable to account for the possibility of unintentional /
inadvertent disclosures of privileged communication by Plaintiffs, who are not trained in
understanding what may or may not be privileged. Furthermore, we ask that the recording be
limestamped to identify when the interview is being conducted, and when breaks are being taken.

#9, We are not in agreement on this, and would like to understand your position as to why you
believe that the unintentional / inadvertent disclosures of attorney-client privileged information
by Plaintiffs in an exam conducted by the Defendants’ retained representative is a legitimate
source of evidence or information to be used in this case? This is an adversarial process and
Plaintiffs are being interviewed by a retained representative of the Defendants. In any other
similar situation where Plaintiffs are being questioned by the defendants or an agent of the
defendants, Plaintiffs would have their counsel present to ensure that attorney-client privilege is
not waived. We can see no reason as to why you would not agree that the unintentional and
inadvertent disclosure of privileged information is off limits in this case, but perhaps further
clarification of your reasoning would help us understand your position.

Sincerely,

MEYER, SHAFFER & STEPANS, PLLP

(jee kG

Victoria K. Gannon
Case 1:20-cv-00052-SPW Document 267-10 Filed 09/27/23 Page 3 of 6

Memorandum of Agreement
Regarding Independent Medical Examinations in the Pending Causes:

Tracy Caekaert and Camillia Mapley v. Watchtower Bible and Tract Society of
New York, Inc., et al. USDC Billings Division 20-CV-52-SPW-TIC

AND

Ariane Rowland and Jamie Schulze v. Watchtower Bible and Tract Society of New
York, Inc., et al. USDC Billings Division 20-CV-59-SPW-TIC

Defendants Watchtower Bible and Tract Society of New York, Inc., and
Watch Tower Bible and Tract Society of Pennsylvania (hereinafter collectively
“Detendants”), have requested that Plaintiffs Tracy Caekaert, Camillia Mapley,
Ariane Rowland, and Jamie Schulze (hereinafter collectively “Plaintiffs”) submit
to Rule 35, Fed. R. Civ. P., mental examinations with Michael Biitz, Ph.D., who
Defendants expect will assist the triers of fact in determining the existence, nature,
and extent of the psychological conditions Plaintiffs have placed at issue in the
above causes of action by claiming injuries and damages secondary to various
instances of childhood sexual abuse.

The parties stipulate as a threshold matter that Dr. Biitz is a suitably licensed
and certified examiner to conduct the subject menta! examinations. The parties
further stipulate as a threshold matter that there is “good cause” within the meaning
of Rule 35(a)(2\(A), Fed. R. Civ. P., for the subject mental examinations to occur.
Plaintiffs reserve the right to challenge Dr. Biitz as a witness and any part of his
examination reports in later briefing or at trial. Heweverthis-wdil- net-serai

thewmatte: of strerneas rliestoruilece.. think bone been cose fee lias med ole
Sree. SECO PE CE ey SEE Ee Bake PPE ORT SEV EES x

below

Pursuant to Rule 35(a)(2)(B), Fed. R. Civ. P,, the parties stipulate that the
subject mental examinations will occur subject to the following time, place,
manner, conditions, and scope:

1. Ariane Rowland’s mental examination will occur at a time to be agreed to
by the parties at the offices of Dr. Bitz located at the Transwestern |
Building, 404 North 31st Street, Suite 202 in Billings, Montana.

2. Jamie Rowland’s mental examination will occur at a time to be agreed to

by the parties at the offices of Dr. Biitz located at the Transwestern |
Building, 404 North 31st Street, Suite 202 in Billings, Montana.

Page | of 4~- Memorandum of Agreement
Case 1:20-cv-00052-SPW Document 267-10 Filed 09/27/23 Page 4 of 6

faa

. Tracy Caekaert’s mental examination will occur at a time to be agreed to
by the parties at [location] in frews}-Searcy, Arkansas, or at the offices of
Dr. Butz located at the Transwestern | Building, 404 North 31° Street,
Suite 202 in Billings, Montana, provided Mrs. Caekaert is healthy
enough to travel- Dr. Biitz has specifically agreed to become
appropriately licensed and certified to conduct Ms. Caekaert’s mental
examination within the state of Arkansas as part of this agreement,

4. Camillia Mapley’s mental examination will occur at a time to be agreed
to by the parties at [location] in ftewe4-Mansfield, VIC, Australia. Dr.
Biitz has specifically agreed to become appropriately licensed and
certified to conduct Ms. Caekaert’s mental examination in Australia as
part of this agreement.

Las

In consideration of Dr. Biitz becoming appropriately licensed and
certified to conduct mental examinations in Arkansas and Australia,
Plaintiffs have agreed to pay his travel costs and other out of pocket
expenses which would include (list of reasonable expected expenses)
associated with the mental examinations of Plaintiffs Tracy Caekaert and
Camillia Mapley in advance based on Dr. Biitz’s estimated travel cost. If
costs exceed the estimate, a detailed invoice will be offered_and if it is
agreed that those costs are reasonable, and directly related to costs
incurred in association with the mental examinations of Plaintiffs, those
costs will be paid by Plaintiffs. -The parties shall work to resolve any
dispute regarding the propriety of the reimbursement sought and if no
resolution is reached shall submit the dispute to the Court. andit-is

EXCESS oie Sour ches gli maad lass DI crak t ts Boras
Sh ro Foe ee Bee PN SP sk & i PEE ee re Seed a & PUREE EEE ES Ape Se Ne re pee

£
Te

6. As to each of the subject mental examinations, the manner, conditions,
and scope have been set forth in Dr. Biitz’s letters dated April 25, 2023,
and May 26, 2023, which are attached as Exhibits XX and AX, list of
general categories of testing-respectively hereto and are incorporated
herein by reference. The parties generally understand that the
examinations and testing shall be tailored to the psychological history
and symptoms exhibited and placed at issue by Plaintiffs’ claims. e

9, * a *
cone of theo ais act ovamwicotionoaia ll be te date EN LL TE EEE ah Ree EE £8,
Pa EE CPE at Pa SS Re ES Se EE EO eer nee oe a ETT TT eee ee Beek ae Ee ee

Page 2 of 4 - Memorandum of Agreement
Case 1:20-cv-00052-SPW Document 267-10 Filed 09/27/23 Page 5 of 6

EAE BI, po ac oleae ee Loca ht heed a eyey boy ioarsaiece eae: iad me
tae a ee ¥ x See OE EE ORR EEE TEES Eee rr eee cere Sse 8
=
+ “ *
he he cy tes ye LOPE ces gars fob dol cece bet.
ee TS TELE EE ee PES PTT See Te Nem ad het

7._In the authorizations completed by the Plaintiffs’ parties individually, the
Authorization for Forensic Psychological Assessment: Informed Consent
& Fee Agreement, attached as Exhibits XXX-XXX, specifically describes
Dr. Btitz’s long-held policy on the handling and management of test raw
data and copywritten materials from test vendors. It is specifically
expected that these policies will be honored.; It is further agreed that

allandthat-+ test raw data shall beis released #-willLonh-be to a

*

omc ERLE

pet vast cui lles os beth pee LE sa.
aah PE SEE hr Es "ht a Tal ot ee By Sep ee EE Na

i

ss = ala ye
Ray NETL ETA ie
1%

cy

matters-(see-attached)-Plaintiffs for review by their attorneys and
retained experts-expeets. Further, at no point will Dr. Biitz be requested to
release copywritten forms for psychological instruments/tests as this
would violate his user agreements with various instrument/test vendors.

fo guste

#8.__Dr. Butz agrees to keep and provide Plaintiffs’ counsel an account of
the testing administered to each Plaintiff. The account shall include, at a
minimum, the specific name and version of the test given, the time that
the administration of each test started and stopped, and the time and
duration of breaks in testing. oradninisiratic

EP Socdapefnapdio techn Sd Dh SR ek hob Ro cle Re Pounds Bodise gi g &

os aeteote...doa.elacde thoate crmaei f Helwaeeice saccll by
Seec Se eed ES Tere ee eerie Aares-o. eee’ ‘ Cer
peowidadioa Plaintiff) ggel Gareth secre cpeen tli Ling sinc ee eliedo etre
Bee er rere et cone ne Lee ey LE Let eT re TE TERE epee LEE

> ¢ ° - .
cs. ee Sieh Debeonich neta es. tongs & gach wal eden on ban lraal- =
: aie er Sabot ih Eke wey eek eae TE eee eee ee Tr ee hag
4 Lf * ‘

&-9.__As to recordation, the parties agree that Dr. Butz shall audio recordaa

Somme

audio recording -will-be-made-by-Dr-Biitz-of all components of the exam

except for the testing. _ the-histery-takiag ae 3e-subiect

te-atiend-any-paertior byeet-mental- examinations-Such recording
will be automatically subject to the Stipulated Protective Orders (Doc.
110-1 in Caekaert/Mapley; Doc. 99-1 in Rowland/Schulze). It is further
agreed that recordation will be conducted in keeping with Dr. Biitz’s

Authorization for Audio/Visual Recording (see attached Exhibit XX).

dad thy i
PE eS ee

9:10. As to attomey-client privilege, the parties have agreed Dr. Biitz will
not ask any questions during the subject mental examinations intended to

Page 3 of 4 - Memorandum of Agreement
Case 1:20-cv-00052-SPW Document 267-10 Filed 09/27/23 Page 6 of 6

elicit responses from Plaintiffs concerning privileged communications
with their counsel, law firm staff, or consultants.-Conversely, Plaintiffs’
counsel will instruct the Plainitffs agreetheywillb prepared-acdvance
pursuant-te-the instruction of their-counsel-not to voluntarily divulge the
contents of any such privileged communications. However. it is further
acknowledged that for the purpose of the examinations Dr. Butz is a
retained representative of the Defendants and the Plaintiffs are not trained
in identifying questions that may elicit a privileged communication.
Therefore, if a Plaintiff unintentionally or inadvertabtly discloses aif
privileged communication during their exam, the Parties stipulate that the
privilege shall be maintained and any such communications s-ave
uBintentionally-diselesed-shall those-statements-willbe stricken /
redacted from the record of the exam.-frem-the-reeord,

+0:11. As to the expert reports to be generated by Dr. Biitz, such reports will
be automatically subject to the Stipulated Protective Orders (Doc. 110-1
in Caekaert/Mapley; Doc. 99-1 in Rowland/Schulze).

APPROVED BY:

Ryan R. Shaffer
MEYER SHAFFER & STEPANS PLLP
Attorneys for Plaintiffs

Brett C. Jensen
BROWN LAW FIRM, PC.
Attorneys for Defendant Watchtower Bible and Tract Society af New York, Inc.

Christopher T. Sweeney
MOULTON BELLINGHAM, PC.

Attorneys for Defendant Watch Tower Bible and Tract Society of Pennsylvania

Michael R. Biitz, Ph.D.
ASPEN PRACTICE, PC.
Independent Medical Evaluator

Page 4 of 4 - Memorandum of Agreement
